      Case 3:23-cr-00026-MEM Document 122 Filed 03/16/23 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                           CR. NO. 3:23-CR-00026

               v.
                                                    (MANNION, J.)
SHANE BURNS,
CHRISTINA PATACKY-BEGHIN,
HOWARD BELL, a/k/a, "Nitty,"
KEVIN JONES, a/k/a "Hat,"
RAHMEL WIGFALL, a/k/a "Inf,"
SAMANTHA SMART,
MAURICE FAULKNER, a/k/a "Moe,"
MERCEDES SMITH,
SHAYNA COLON ACOSTA,
GIAVANNA TERESA TWYMAN,
SABRINA CLEVELAND,
ROBERT THOMPSON, a/k/a
"THUGGA,"
FATIEEM GRADY,
YUAMIR GRAYSON,
RACHEL SMYDEN,
               Defendants.

                                      ORDER
                      ~
      NOW THIS _/k___ day of March 2023, upon consideration of the United States'

motion to unseal the case, this case may be unsealed as to all defendants.



      ACCORDINGLY, IT IS HEREBY ORDERED, that the Clerk may unseal the

above defendants in the captioned matter.




                                United States District Court Judge
